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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION


BRYAN ORRIO and KEELEY M.                                            Case No. 6:18-cv-00883-AA
McCALLUM,

                              Plaintiffs,             DEFENDANT’S ANSWER TO
                                                      PLAINTIFFS’ COMPLAINT
       v.
                                                      JURY DEMAND REQUESTED
DICK’S SPORTING GOODS, INC.,
a Pennsylvania corporation,

                            Defendant.
       Defendant answers plaintiffs’ Complaint as follows:
                                                 1.
       Defendant admits paragraph 1.
                                                 2.
       Defendant denies paragraph 2, 3, 4, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21,
22, 23, 24.
                                                 3.
       In response to paragraph 5, defendant is without sufficient information or belief to admit

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or deny this allegation at the beginning stages of this lawsuit and discovery. In an abundance of
caution, the allegation is denied.
                                                   4.
       Paragraph 6 is a request for a jury trial and not an allegation. Defendant is not required,
nor can it, admit or deny that paragraph.
                                                   5.
       Defendant further denies all liability and denies each and every allegation in plaintiffs’
Complaint not expressly admitted herein.


                                     AFFIRMATIVE DEFENSE
                                        (Comparative Fault)
                                                   6.
       Plaintiffs are comparatively at fault for their injuries, if any. Plaintiffs (1) failed to
operate the kayak in a safe manner; (2) plaintiffs operated the kayak without proper skills; (3) the
selection of the location for kayaking; (4) plaintiffs altered the kayak; and (5) failed to keep a
proper lookout and maintain water safety protocol.
                                                   7.
       Defendant requests the following:
       1.    Dismissal of plaintiffs’ claims with prejudice;
       2. Judgment for the defendant;
       3. Costs and fees and whatever additional remedy the court deems fit.


       Dated this 2nd day of July, 2018.
                                            CHOCK BARHOUM LLP




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